      Case: 1:23-cv-02155 Document #: 1-2 Filed: 04/05/23 Page 1 of 4 PageID #:6             FILE
                                                                                 2/23/2023 2:24 PI
                                                                      ERIN CARTWRIGHT WEINSTEI
              IN THE CIRCUIT COURT OF THE NINETEENTH JUDICIALICIKCUIThe Circuit Cou
                               LAKE COUNTY, ILLINOIS             Lake County, Illinoi

 ELIZABETH ESPINOSA,

                  Plaintiff,                                Case No. 23LA00000127
 V.

 BIG LOTS STORES, LLC,

                  Defendant.

                                       COMPLAZNT AT LAW

         NOW COMES Plaintiff, ELIZABETH ESPINOSA, by and through her attorneys, BOTTO

GILBERT LANCASTER, P.C., and complains of the Defendant, BIG LOTS STORES, LLC

(hereina$er referred to as "BIG LOTS"), and pleading hypothetically and in the altemative, states

as follows:

        1.       On or about April 22, 2021, Defendant, BIG LOTS, owned and was in the use,

possession, operation and control of a certain retail store located at and commonly known as 400

West Rollins Road, Round Lake Beach, Lake County, Illiziois.

        2.       At all times mentioned herein, Plaintiff, ELIZABETH ESPINOSA, was a patron of

the afore-described retail store and was using the store in a manner and for a purpose for which it

was intended to be used.

        3.       It then and there became the duty of the Defendant, BIG LOTS, operating by and

through its agents and servants, to exercise reasonable care in its ownership, use, maintenance,

operation and control of the afore-described retail store, and in particulai-, the displays, so as to

inake same reasonably safe to mernbers of the general public, and in particular, to patrons such as

the Plaintiff herein.

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             TNIS CASE IS HEREPY SE;7 fGR AN iNITIAL CASE "r1ANAGEMENTCONFFRENCE       EXHIBIT A
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                EAILURE TO APPEAR MAY RESUi.T IN THE CASE BEING DI$MISSED OR
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                4.      Notwithstanding the above-described duty, the Defendant, BIG LOTS, operating

        by and through its agents and servants, did then and there cominit one or inore of the following

        acts of inisconduct, to-wit:

                a.     Carelessly and iinproperly created an unsafe condition by placing inerchandise on

                       the display shelves in such a manner that it could fall;

                b.     Carelessly and improperly failed to inspect and maintain the merchandise and

                       display slhelving;

                C.     Carelessly and improperly failed to secure the inerchandise;

                d.     Carelessly and improperly allowed such conditions to exist for an unreasonable

                       length of time;

                C.     Carelessly and iinproperly failed to warn inembers of the general public, and in

                       particular, the Plaintiff herein, of the above-described unsafe conditions.

                5.      As a direct and proximate result of one or inore of the foregoing acts of misconduct

        on the part of the Defendant, BIG LOTS, operating as afore-described, the merchandise, and

        specifically, Iarge picture frames, fell onto Plaintiff, causing her to sustain serious and pennanent

        injury as hereinafter set forth.

                6.      As a proximate result of the above occuiYence, the Plaintiff sustained severe and

        permaiient injmy, both extemally and internally, and was and will be hindered and prevented from

        attending to her usual duties and affairs, and has lost and will in the future lose the value of that

        time as aforementioned. Plaintiff also suffered great pain aiid anguish, both in rnind and body, and

        will in the futui-e continue to suffer. Plaintiff further expended and became liable for and will

        expend and become liable for lai-ge sums of money for inedical care and sei-vices endeavoring to

        become liealed and cured of said injui-ies.



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                     WHEREFORE, Plaintiff, ELIZABETH ESPINOSA, prays that this Honoi-able Court enter

              judgment against the Defendant, BIG LOTS STORES, LLC, in a fair and reasoiiable sum in excess

              of FIFTY THOUSAND DOLLARS ($50,000.00), and for such other relief as this Court deerns

              equitable and just.

                                                               Respectfully subinitted,




                                                               KELLY L. LANCASTER,
                                                               Attorney for Plaintiff




              Prepared by:
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    ELIZABETH ESPINOSA,

                     Plaintiff,                          Case No. 23LA00000127

    a

    BIG LOTS STORES, LLC,

                     Defendant,.

                      SUPREME C.OURT RULE.222 AFFIDAVIT OF DAMAGES

            The undersigned, being first duly sworn upon oath, deposes and states that she is one of

    the attorneys for the Plaintiff in the above-entitled cause of action seeking money damages or

    collection of taxes and states that this cause of action does exceed FIFTY THOUSAND AND

    00/100 DOLLARS ($50,000.00).

                                                       Respectfully submitted,




                                                       KELLY L LANCASTER,
                                                       Attorney for Plaintiff




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